          Exhibit 73




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
         CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                           Plaintiffs,
     vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,
                           Defendants.



                 _______________________________
                    SECOND AMENDED DEPOSITION
                                OF
                          ANDREW PARRISH
    THIS DEPOSITION CONTAINS HIGHLY CONFIDENTIAL AND
 PROPRIETARY INFORMATION AND IS SUBJECT TO A PROTECTIVE
   ORDER RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
                 _______________________________


TAKEN AT THE OFFICES OF:
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514



                               06-21-17
                               9:02 A.M.
                    __________________________
                            Dale L. Ring
                           Court Reporter


                    Civil Court Reporting, LLC
                            P.O. Box 1146
                        Clemmons, NC 27012
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   1          immediately turn our attention to.
   2                   Q.      When you say, "what major they are," is
   3          that the major that they indicate on their
   4          application?
   5                   A.      Correct.
   6                   Q.      Do you know why the off -- admissions
   7          office uses race?
   8                   A.      I don't.
   9                   Q.      Have you had conversations with anybody
 10           in the admissions office as to why you use race
 11           when evaluating candidates?
 12                    A.      No.
 13                    Q.      Do you know what the ultimate goal is of
 14           using race in the admissions process?
 15                    A.      I don't.
 16                    Q.      You never had conversations about what
 17           the ultimate goal is in -- for using race?
 18                    A.      No.
 19                    Q.      Have you ever heard the term, "critical
 20           mass"?
 21                    A.      I have.
 22                    Q.      What do you understand "critical mass"
 23           to mean?
 24                    A.      I don't really understand what it is.
 25           I've just heard it being used before.

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   1                   Q.      Have you heard it within the admissions
   2          office?
   3                   A.      Yes.
   4                   Q.      In what context have you heard it?
   5                   A.      Related to when we were recruiting
   6          students for undergraduate admissions ambassador
   7          program for which -- over which I oversaw.                  I had
   8          a conversation with somebody related -- in our
   9          diversity multi-cultural affairs office about
 10           critical mass and that's really the main context.
 11                    Q.      And, when you had those discussions, did
 12           anybody talk about what critical mass -- what the
 13           definition of critical mass is?
 14                    A.      No.
 15                    Q.      When the admissions office uses the
 16           term, "underrepresented minority," does that
 17           include Asian American applicants?
 18                    A.      Not to my knowledge.
 19                    Q.      Do you know why it doesn't include Asian
 20           American applicants?
 21                    A.      I don't.
 22                    Q.      You're being handed what's been marked
 23           as Exhibit 2.
 24                            (EXHIBIT NUMBER 2 WAS MARKED)
 25                    Q.      Just take a moment to familiarize

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   1          yourself with that document.
   2          (Witness examined document)
   3                   Q.      Are you familiar with this document?
   4                   A.      I believe so.
   5                   Q.      And what is it?
   6                   A.      I believe it's a our reading document
   7          that we use for admissions of -- evaluation of our
   8          candidates.
   9                   Q.      So this is the document that admissions
 10           officers review to help guide them in how they
 11           review applications?
 12                                   MR. TULCHIN:   Objection.
 13                    A.      It's a document that we're handed at
 14           reader training and we're basically told this is
 15           the -- basically the guiding document that is
 16           basically the broad aspect of how we evaluate
 17           applications.
 18                    Q.      (Mr. Weir) The broad policy of the
 19           admissions office?          Okay.
 20                    A.      Yes.
 21                    Q.      And you said at reader -- I'm sorry.
 22                    A.      Sorry, I realized that I nodded my head
 23           so...
 24           (Off-record comments)
 25                    Q.      So, you said at reader training this is

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   1          passed out.         Is reader training something that
   2          happens every single year?
   3                   A.      Yes.
   4                   Q.      So you go through reader training every
   5          year despite that you have experience in reading
   6          applications?
   7                   A.      Yes.
   8                   Q.      And that's true for anybody that reads
   9          applications?
 10                    A.      Yes.
 11                    Q.      If you could turn to page 8 of this
 12           document.         I believe it's the last page.         If you
 13           could read the sentence starting with, "consistent
 14           with the supreme court's decision."
 15                    A.      Okay.
 16                    Q.      If you could read that for me.
 17                    A.      The whole sentence?
 18                    Q.      The whole sentence, please.
 19                    A.      "Consistent with the Supreme Court's
 20           decision in Grutter, the race or ethnicity of any
 21           student may or may not receive a plus in the
 22           evaluation process, depending on the individual
 23           circumstances revealed in the student's
 24           application."
 25                    Q.      So what is meant by the word, "plus"?

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   1                   A.      I'm not sure.
   2                   Q.      This is the document that you received
   3          during reader training but you're not sure what
   4          the word "plus" means?
   5                   A.      Correct.
   6                   Q.      What do you think it means?
   7                   A.      I'm not sure.   It's not something that I
   8          feel like is ever something I ever think about or
   9          ever comes up in our conversations when we talk
 10           about applicants.
 11                    Q.      So you never have conversations in the
 12           office as to whether a student should receive a
 13           plus due to his or her race or ethnicity?
 14                    A.      I wouldn't say we talk about it as being
 15           a plus.          That's just not the way that we discuss
 16           applications.
 17                    Q.      During reader training, have -- have you
 18           ever discussed this sentence here with anybody?
 19                    A.      Not that I can remember.
 20                    Q.      So you don't know whether any applicant
 21           receives a pl -- whether a -- excuse me, let me
 22           rephrase that.
 23                            You don't -- do you know whether any
 24           applicants receive a "plus" due to their race or
 25           ethnicity in the admissions off -- process?

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   1          in the office about that?
   2                   A.      No.
   3                           (EXHIBIT NUMBER 3 WAS MARKED)
   4                   Q.      Just take a moment to familiarize
   5          yourself with this document.
   6          (Witness examined document)
   7                   Q.      Have you reviewed it?
   8                   A.      Yes.
   9                   Q.      I just want to draw your attention to
 10           the email on the bottom of the first page, I
 11           believe from yourself to Jen Kretchmar.               You
 12           state, "Can you tell me how many of our priority
 13           groups from last year overlap?"           Who are the
 14           priority groups?
 15                    A.      They would be the groups that are listed
 16           here below.
 17                    Q.      So, Top NC is a priority group?
 18                    A.      Correct.
 19                    Q.      First generation college is a priority
 20           group?
 21                    A.      Yes.
 22                    Q.      Underrepresented minorities are a
 23           priority group?
 24                    A.      Yes.
 25                    Q.      And by underrepresented minorities, as

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   1          list?
   2                   A.      No.
   3                   Q.      You don't know who makes those decisions
   4          in the office?
   5                   A.      I don't.
   6                   Q.      Do you ever nominate students to be
   7          admitted off of the wait list for someone else to
   8          make the ultimate decision?
   9                   A.      Yes.
 10                    Q.      Okay.   And how do you go about that
 11           process of nominating a student?
 12                    A.      I send an email on to a colleague.             It's
 13           just a short one to two sentence description of
 14           why they should be considered.
 15                    Q.      And do you do that regularly after the
 16           deposit deadlines or how -- how do you go about
 17           doing that?         Do you get asked to nominate
 18           somebody?         I'm just trying to get a feel for the
 19           process.
 20                                   MR. TULCHIN:   Objection.
 21                    A.      I -- so will you rephrase your question?
 22                    Q.      (Mr. Weir)   Sure.    I -- I just -- when
 23           will you nominate a -- a student to be admitted
 24           off of the wait list?          When does that happen?
 25                    A.      I can't remember exactly when it happens

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   1          but, we get an email from a colleague asking us to
   2          respond with any students that we would like to
   3          ask to be considered to be -- considered to be
   4          admitted off the wait list.
   5                   Q.      And -- and which colleague will email
   6          you?
   7                   A.      This past year or -- do you have a time
   8          that ---
   9                   Q.      Sure, yeah.   Just -- let's just say this
 10           -- this year.
 11                    A.      So, like, this year it was Ni -- Ni-Eric
 12           Perkins.
 13                    Q.      And what about last year?
 14                    A.      Mm, I don't remember last year.
 15                    Q.      What about the year before?
 16                    A.      I don't remember.
 17                    Q.      Okay.   When you get asked to nominate a
 18           student off of the wait list, how do you go about
 19           picking which student to nominate?
 20                    A.      Usually it's a student that I've formed
 21           a close personal relationship with or a student
 22           that I read that I thought was particularly
 23           compelling to me.
 24                    Q.      So when you're going through the 1500
 25           applications that you're reading over the course

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   1          of a year, you'll remember a handful of students
   2          that you think have compelling stories that you
   3          think should be admitted to UNC.           And then you
   4          would hold on to those toward -- at the end for
   5          the wait list process?          Is that how you do it?
   6                                MR. TULCHIN:   Objection.
   7                   A.      There's typically -- yeah, a student
   8          that I remember reading in the evaluation process
   9          and will hang on to to see, kind of, what happens
 10           to them and if I see that they're on the wait
 11           list, then that might be a time that I would
 12           advocate for them.
 13                    Q.      (Mr. Weir)   So it's somebody -- okay, I
 14           got it.
 15                            (EXHIBIT NUMBER 9 WAS MARKED)
 16                            You've been handed what's marked as
 17           Exhibit Number 9.         Please take a -- a moment to
 18           review that document.
 19           (Witness examined document)
 20                    A.      Okay.
 21                    Q.      (Mr. Weir)   And what is this document
 22           there?
 23                    A.      Looks like an email from Jen Kretchmar.
 24                    Q.      And the attachment?
 25           (Witness examined document)

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   1                   Q.      I just want you to confirm that this --
   2          these are individuals that were invited to this
   3          event.
   4                   A.      Okay.   NC top PSAT, 140 plus or 1400
   5          plus; NC top ACT, Top NC 32 to 36.
   6                   Q.      Can I just stop you there for a sec --
   7          for the first line is that students who received
   8          either a 140 or better or 14 -- on the PSAT or a
   9          1400 or better on the SA -- SAT?
 10                    A.      I'm not sure, actually.
 11                    Q.      You drafted this document, didn't you?
 12                    A.      I copied this information, I believe,
 13           from what Michael Davis had given me in terms of
 14           what he wanted to invite.
 15                    Q.      So, I'll represent to you that seven
 16           days ago Michael Davis testified that he copied
 17           this information from you.
 18                    A.      Mm.
 19                                  MR. TULCHIN:   Is there a question
 20           there, Bryan?
 21                                  MR. WEIR:   Yeah.
 22                    Q.      (Mr. Weir)   Do you know what this
 23           information is?
 24                    A.      I know it's the students that we invited
 25           and ---

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   1                   Q.      Okay.   And who are these students?
   2                   A.      --- they're ---
   3                   Q.      Who did you invite to -- to Carolina and
   4          Beyond?
   5                   A.      These students that are listed here.
   6                   Q.      Okay.   So did you invite students who
   7          got a 140 or better or 1400 or better on the SAT?
   8                   A.      I think that's PSAT.     It says 140 plus
   9          or 1400 plus for PSAT.
 10                    Q.      Okay.   So did you invite the Carolina
 11           and Beyond students who got a 140 be -- or better
 12           on the PSAT and students who -- or students who
 13           got a 1400 or better on the SAT?
 14                                   MR. TULCHIN:   Objection.
 15                    A.      Whatever's listed there, that is what we
 16           invited.
 17                    Q.      That's who you invited?
 18                    A.      Yes.
 19                    Q.      So you invited also, if you go down to
 20           the one, two, three, four -- the fifth line down,
 21           "NC other PSAT."          You invited students who were
 22           underrepresented.          They got between a 110 and a
 23           129 on the PSAT or 1100 -- between an 1100 and a
 24           1290 on the SAT?
 25                    A.      If that's what's listed there, then,

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   1          yes, that's what we invited.
   2                   Q.      Okay.   Did you invite students who were
   3          not underrepresented         who had those same test
   4          scores?
   5          (Witness examined document)
   6                   A.      I'm not sure what the test score bands
   7          are for the -- the three names that are below the
   8          box where it says "out-of-state other ACT and see
   9          low SES PSAT and NC SES ACT."          So, I'm not -- I --
 10           I don't know if I could answer that because I
 11           don't know what the other test score bands are.
 12                    Q.      Did you invite students from a list
 13           called "OOS, other SAT"?
 14                    A.      If it's listed there, then -- well,
 15           actually, I don't -- maybe I -- actually I know
 16           that this was a working document.            Actually I
 17           don't -- I guess I should say I'm not actually
 18           sure that we actually invited these students.
 19                    Q.      Okay.   So it's a working document
 20           proposing who to invite to this?
 21                    A.      Yeah.
 22                    Q.      Did you propose that UNC invite students
 23           in this band, underrepresented students who
 24           received a 110 -- between a 110 and 129 on the
 25           PSAT or between 1100 and a 1290 on the SAT?

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   1                   A.      Well, we -- I think we would go lower on
   2          the testing for our underrepresented students than
   3          we would for our Asian & Caucasian students.
   4                   Q.      (Mr. Weir)   And that would -- and what
   5          was the purpose for that?
   6                   A.      In order to make sure that we are
   7          including more students.
   8                   Q.      So you -- the thresholds were lowered
   9          for Chancellor's Science Scholars so as to
 10           increase the pool of URMs that were included in
 11           the pool to the committee?
 12                    A.      We -- we did go lower on test scores for
 13           underrepresented students in order to make sure
 14           that we had enough students in the pool to hand
 15           over to the Chancellor's Science Scholar
 16           committee.
 17                    Q.      In the -- not in the Chancellor's
 18           Science Scholars program, but in the -- in reading
 19           applications for admission, are -- do you take
 20           into account that "demographic backgrounds" can
 21           affect testing when you're evaluating applicants?
 22                    A.      Yes.
 23                    Q.      You do?   And how do you take that into
 24           account?
 25                    A.      In understanding that test scores from

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   1          underrepresented minorities might be lower than it
   2          could be for non-underrepresented students.
   3                   Q.      Is that -- are you instructed to take
   4          that in account as a policy?
   5                   A.      I don't recall.    I don't know.
   6                   Q.      When you're getting -- I think you
   7          testified earlier that there's reader training at
   8          the beginning of every year.           Is that correct?
   9                   A.      That is correct.
 10                    Q.      During that reader training, do -- is
 11           there a discussion of the demographic background
 12           of URM students and how that can affect testing?
 13                    A.      I -- I don't know if it has been or not.
 14           I know at least one year we were given historical
 15           national averages, but I don't know.             I know that
 16           happened one year, but I don't remember if it's
 17           happened beyond then.
 18                    Q.      Okay.   And what year was that?
 19                    A.      I don't remember.
 20                    Q.      Was it in the last year or two?
 21                    A.      I'm not sure.
 22                    Q.      You can't ballpark when it is?
 23                    A.      Honestly, I can't.
 24                    Q.      Okay.   And who gave you that
 25           information?

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   1                                MR. TULCHIN:    Objection.      It's not
   2          what he testified to at all.
   3                   A.      Will you repeat the question?
   4                   Q.      (Mr. Weir)   Sure.   At some point in your
   5          tenure at the University of North Carolina's
   6          admissions office, were you instructed to take
   7          into account that demographic backgrounds can
   8          affect testing with URM students?
   9                   A.      I remember at one point during reader
 10           training that we were shown national averages for
 11           various ethnic groups of students and that is what
 12           I remember.
 13                    Q.      Okay.   You don't remember who showed you
 14           that information?
 15                    A.      I do not.
 16                    Q.      Who generally conducts the reader
 17           training?
 18                    A.      It depends on which part of it.
 19                    Q.      This particular part -- testing -- test
 20           scores.
 21                    A.      I wouldn't say test scores are normally
 22           a large part of our reader training.
 23                    Q.      I understand that.    But when you do have
 24           reader training on test scores, who generally is
 25           the person that handles that?

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   1                                MR. TULCHIN:   Objection.
   2                   A.      I can't remember testing ever beyond
   3          that one time.           I don't remember testing being a
   4          common part or being a part of reader training.
   5                   Q.      (Mr. Weir)   So when you are taking this
   6          information into account -- the demographic
   7          backgrounds of URMs -- explain to me how you do
   8          that for Hispanic students.
   9                   A.      I'm sorry.   Will you repeat what you
 10           said again?
 11                    Q.      Sure.   You testified earlier that you
 12           take into account that demographic backgrounds can
 13           affect testing.          And specifically, you testified
 14           that URM students typically have lower test scores
 15           nationally.         So how do you take that information
 16           into account when you're evaluating a Hispanic
 17           students application?
 18                    A.      I understand that the test score could
 19           be lower for an underrepresented group, such as
 20           Hispanic students.
 21                    Q.      What if the student is, let's say,
 22           upper-class Hispanic student?          How would that
 23           change your analysis, if at all?
 24                    A.      What do you mean by "change my
 25           analysis"?

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   1                   Q.      Your analysis as how to treat -- treat
   2          that particular applicant's test scores.
   3                   A.      I would take the test scores at what
   4          they are.
   5                   Q.      So, when you look at Hispanic
   6          applicants' test scores, do you always take into
   7          account that Hispanics, on a national level, have
   8          lower test scores?
   9                   A.      I mean, I -- I look at all the factors
 10           that are there and I see the test scores.                 I see
 11           the ethnicity.        I see all the other factors and, I
 12           mean, all of it comes together in helping me form
 13           my composite picture of the -- of the individual.
 14                    Q.      So, for all Hispanics -- when you're
 15           reading Hispanics -- I just want to make sure I
 16           understand what you're saying.           When you're
 17           reading Hispanic applications, in the back of your
 18           mind, you're always taking into account that
 19           Hispanics, on a national level, have lower test
 20           scores?
 21                                MR. TULCHIN:    Objection.
 22                    A.      Well, I wouldn't say I just read
 23           Hispanic applications.        But, if I'm reading an
 24           application and I see that the student is
 25           Hispanic, then -- yes, I know that on average,

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   1          Hispanic students do score lower, nationally, on
   2          standardized testing.          So, that is -- yes, I do
   3          realize that.
   4                   Q.      (Mr. Weir)   What is your understanding
   5          of how -- how Asian Americans test on a national
   6          average?
   7                   A.      That they test higher than African
   8          American, Hispanic/Latino and the American Indian.
   9                   Q.      Do you take that into account when
 10           you're reading applications from Asian American
 11           students?
 12                    A.      Yes.    That is one of the things I keep
 13           in mind.
 14                    Q.      Do you treat all Asian American students
 15           the same in that regard?
 16                    A.      In what regard?
 17                    Q.      In regard to their -- the national
 18           average of their testing scores?
 19                    A.      Yes.    But I also know that, I mean,
 20           they're allotted for factors that come into play
 21           for each and every applicant.          First generation
 22           college student, students from lower socioeconomic
 23           backgrounds; I mean, there's -- there's lots of
 24           factors that can affect testing ---
 25                    Q.      Sure.

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   1          Asian American applicants and African American
   2          applicants has nothing to do with the race of
   3          those two and -- two groups?
   4                                  MR. TULCHIN:   Objection.
   5                   A.      I would see the test score for an Asian
   6          American or Asian just like I would see the test
   7          score for an African American.
   8                   Q.      (Mr. Weir)   I believe you testified
   9          earlier that the demographic background of these
 10           two groups causes you to look at their test scores
 11           differently.         Are you changing your ---
 12                                   MR. TULCHIN:   Objection.
 13                    Q. (Mr. Weir)      --- testimony from before?
 14                                   MR. TULCHIN:   It's not what he
 15           testified to at all.
 16                    A.      I'm sorry.   Repeat your question?
 17                    Q.      (Mr. Weir)   Sure.    I believe you
 18           testified earlier, and please correct me if I'm
 19           wrong, that the demographic background of -- that
 20           demographic backgrounds can affect testing and
 21           then, as a result, because African American
 22           students, on national average, have lower test
 23           scores, you look at their test scores through that
 24           lens.
 25                    A.      Yes.   That is correct.

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   1          that's a -- "likely admissible" is a reference to
   2          those test scores?
   3                   A.      I can't answer that question.        I don't
   4          know how to answer that.
   5                   Q.      Okay.   All right.   1400 on the SAT and
   6          32 on the ACT, that's Top NC students, right?
   7                   A.      That is correct.
   8                   Q.      Okay.
   9                   A.      That is the criteria that we have used
 10           for the testing portion in Top NC.
 11                    Q.      And what do you mean by "majority"
 12           there?
 13                    A.      Non-underrepresented.
 14                    Q.      Okay.   So that includes Asian American
 15           students?
 16                    A.      That is correct.
 17                    Q.      And how do you know that to be the case?
 18                    A.      I'm sorry?   What do you mean?
 19                    Q.      Well, you've testified a couple other
 20           things that you don't know what you meant by that,
 21           but how do you know that's what you mean by
 22           "majority"?
 23                    A.      Because that's a common term that we
 24           use.
 25                    Q.      Are you aware that Asian Americans are,

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   1          in fact, in the majority?
   2                   A.      It's just a phrase that we've used int
   3          he past and that's what I've come to understand it
   4          to mean.
   5                   Q.      Okay.   So other people in the admissions
   6          office, when they refer to "majority" they mean
   7          Caucasian and Asian American students?
   8                   A.      As far as I'm aware.
   9                   Q.      Okay.   Is that a common term used in the
 10           admissions office?
 11                    A.      I don't know how common it is.         I know
 12           others have used it.
 13                    Q.      Okay.   After the colon there, the
 14           semicolon,         1100 or 24 URM.   Is URM a reference to
 15           Hispanic, African American and Asian -- and
 16           American Indian students?
 17                    A.      Yes.
 18                    Q.      Okay.   And what is the reference to
 19           "Eight in performance"?
 20                    A.      What do you mean?
 21                    Q.      What does that mean, "eight in
 22           performance"?
 23                    A.      That's a performance rating that we
 24           have.          We have performance ratings that go from
 25           one to ten.

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